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 1   HEATHER E. WILLIAMS
     Federal Defender
 2   ANGELES ZARAGOZA, #270198
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
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 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     DAVID TALCOTT USSERY
 6
 7                       IN THE UNITED STATES DISTRICT COURT
 8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,           ) NO. 2:05-CR-00034-03 LKK
                                         )
11                   Plaintiff,          ) RELEASE ORDER
                                         )
12             v.                        )
                                         )
13   DAVID TALCOTT USSERY                ) JUDGE: Hon. Lawrence K. Karlton
                                         )
14                   Defendant.          )
                                         )
15   _____________________________       )
16          Defendant DAVID TALCOTT USSERY was sentenced on July 9, 2013 to
17   time served with a period of 120 days in a Community Correction Center
18   as a special condition of release.
19          IT IS HEREBY ORDERED that the defendant be released from
20   custody from the Sacramento County Jail on July 11, 2013, at 9:00 a.m.
21   and voluntary surrender to the halfway house on that date to Taylor
22   Street CCC in San Francisco, California.        The defendant will be
23   escorted by the Federal Defenders Office to the Magabus Station for
24   travel from Sacramento to Taylor Street CCC in San Francisco,
25   California.
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     Dated: July 10, 2013
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